             Case 1:20-cv-00763-RP Document 71 Filed 07/17/23 Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  STUDENTS FOR FAIR ADMISSIONS,
  INC.,

                              Plaintiff,

                            v.                                          Case No. 1:20-cv-763-RP


  UNIVERSITY OF TEXAS AT AUSTIN, et
  al.,

                              Defendants.


                                           JOINT STATUS REPORT

        The parties file this joint status report in accordance with this Court’s order.

        1.       This case is stayed pending further order of the Court. This Court ordered that the

parties file a joint status report every 90 days. The parties filed a first Joint Status Report on

October 19, 2022, Docket No. 66, a second Joint Status Report on January 17, 2023, Docket No. 67,

and a third Joint Status Report on April 17, 2023, Docket No. 69.

        2.       The parties’ joint motion to stay was based on the Supreme Court of the United States’

grant of certiorari in two cases that were brought by Plaintiff Students for Fair Admissions: Students

for Fair Admissions, Inc. v. President and Fellows of Harvard College, No. 20-1199, and Students for Fair

Admissions, Inc. v. University of North Carolina et al., No. 21-707.

        3.       On June 29, 2023, the Supreme Court issued its opinions in Harvard and University of

North Carolina. See Students for Fair Admissions, Inc. v. President and Fellows of Harvard College, 143 S.Ct. 2141

(2023). The Supreme Court ruled for Students for Fair Admissions and reversed the judgments of the

Court of Appeals for the First Circuit and the District Court for the Middle District of North Carolina.

Id. at 2176.
             Case 1:20-cv-00763-RP Document 71 Filed 07/17/23 Page 2 of 4




        4.      All parties request that the Court lift the stay of this litigation now that the Supreme

Court has issued its decisions in Harvard and University of North Carolina.



Dated: July 17, 2023

                                                         Respectfully submitted,

                                                          /s/ J. Michael Connolly
                                                         Thomas R. McCarthy (pro hac vice)
                                                         J. Michael Connolly
                                                         Cameron T. Norris
                                                         Steven C. Begakis (pro hac vice)
                                                         CONSOVOY MCCARTHY PLLC
                                                         1600 Wilson Blvd., Suite 700
                                                         Arlington, VA 22209
                                                         (703) 243-9423
                                                         tom@consovoymccarthy.com
                                                         mike@consovoymccarthy.com
                                                         cam@consovoymccarthy.com
                                                         steven@consovoymccarthy.com

                                                         Counsel for Plaintiff Students for Fair Admissions,
                                                         Inc.

                                                          /s/ William Christian
                                                         Matthew C. Powers
                                                         Texas State Bar No. 24046650
                                                         mpowers@gdhm.com
                                                         William Christian
                                                         State Bar No. 00793505
                                                         wchristian@gdhm.com
                                                         Marianne W. Nitsch
                                                         Texas State Bar No. 24098182
                                                         mnitsch@gdhm.com
                                                         Graves Dougherty, Hearon & Moody, P.C.
                                                         401 Congress Avenue, Suite 2700
                                                         Austin, Texas 78701
                                                         (512) 480-5725 (phone)
                                                         (512) 539-9938 (fax)

                                                         Counsel for Defendants




                                                    2
Case 1:20-cv-00763-RP Document 71 Filed 07/17/23 Page 3 of 4




                                  /s/ David Hinojosa
                                 Brian C. Pidcock
                                 State Bar No. 24074895
                                 HUNTON ANDREWS KURTH LLP
                                 600 Travis St.
                                 Houston, TX 77002
                                 Tel. (713) 220-4200
                                 brianpidcock@HuntonAK.com

                                 David Hinojosa
                                 State Bar No. 24010689
                                 LAWYERS’ COMMITTEE FOR
                                 CIVIL RIGHTS UNDER LAW
                                 1500 K Street, NW, Suite 900
                                 Washington, DC 20005
                                 Tel. (202) 662-8600
                                 dhinojosa@lawyerscommittee.org

                                 Alan R. Kabat (pro hac vice)
                                 Bernabei & Kabat, PLLC
                                 1400 - 16th Street, N.W., Suite 500
                                 Washington, D.C. 20036-2223
                                 Tel. (202) 745-1942 (ext. 242)
                                 Kabat@BernabeiPLLC.com

                                 Attorneys for Defendant-Intervenors




                             3
           Case 1:20-cv-00763-RP Document 71 Filed 07/17/23 Page 4 of 4




                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on counsel of

record via the Court’s electronic filing and service on July 17, 2023.

                                                         /s/ J. Michael Connolly




                                                   4
